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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )             CASE NO. 1:05cr00433-004
                                              )
       Plaintiff,                             )             JUDGE: JAMES S. GWIN
                                              )
vs.                                           )             ORDER
                                              )
SHONDALE LAWSON,                              )
                                              )
       Defendant.                             )



       This matter was heard on June 10, 2011, upon the request of the United States Pretrial

and Probation Office for a finding that defendant violated the conditions of his supervised

release. The defendant was present and represented by Attorney Darin Thompson.

       The initial violation report was referred to United States Magistrate Judge George J.

Limbert for a Report and Recommendation. A supplemental report was presented May 19 2011,

and a hearing was conducted on May 24, 2011, at which time defendant stipulated to the

violation in the reports and consented to detention pending sentencing. The Report and

Recommendation was issued on May 24, 2011.

       The Court finds, based upon defendant’s admission to Magistrate Judge Limbert and

finding that no objection has been filed to the Report and Recommendation, that defendant has

violated the terms of his supervised release as follows:

               1) new law violation on or near July 18, 2010.

       The Court, prior to sentencing, considered the factors in Sec. 3553 and noted: 1) the
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horrendous nature and circumstances of the instant violation suggests a much longer sentence;

and 2) defendant is a Criminal History Category VI, has significant underlying convictions

including a felonious assault conviction as well as drug convictions and these also suggest a

longer sentence.

       Therefore, the defendant is committed to the Bureau of Prisons for a period of 33 months

and is granted credit for time served in federal custody on the instant violation. The sentence in

this matter shall run consecutive to defendant’s state sentence. Upon release from incarceration

defendant’s period of federal supervised release shall terminate.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.



Dated: July 10, 2011                                 s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
